                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )       NO. 3:11-00194
                                                    )       JUDGE CAMPBELL
JESSIE ALLEN, et al.                                )

                                            ORDER

       Pending before the Court is an Affidavit (Docket No. 834) filed by Defendant Monique

Smith, pro se. Defendant Smith is represented by counsel. Accordingly, the Court will not act upon

any pro se filings.

       It is so ORDERED.

                                                    ____________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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